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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


    JANSSEN BIOTECH, INC.,

                          Plaintiff,
                                                     No. 1:17-cv-11008
           v.

    CELLTRION HEALTHCARE CO., LTD.,
    CELLTRION, INC., and
    HOSPIRA, INC.

                          Defendants.


      DEFENDANTS’ RESPONSE TO JANSSEN’S NOTICE OF SUPPLEMENTAL
    AUTHORITY [DKT. 316] REGARDING DEFENDANTS’ MOTION FOR SUMMARY
        JUDGMENT OF NON-INFRINGEMENT BASED ON ENSNAREMENT

          Janssen misstates UCB, Inc. v. Accord Healthcare, Inc., No. 2016-2610, 2018 WL 2324751

(Fed. Cir. May 23, 2018), in its notice of supplemental authority, Dkt. 316. It half-quotes the

beginning of the decision while neglecting to mention that the Federal Circuit—even in the context

of a patent covering a chemical compound—specifically held that a lead-compound analysis is not

necessary: “[A]n obviousness rejection by an examiner, or a challenge in court, may be based on

the closest prior art, which may not have been a lead compound that the inventor had in mind.”

UCB, 2018 WL 2324751, at *11.1 Janssen provides neither a legal nor logical basis to extend the

lead-compound analysis to this case, which has nothing to do with a new chemical structure. Doing

so would violate decades of settled law.

          In KSR, the Supreme Court rejected a “rigid approach” to an obviousness analysis in favor

of an “expansive and flexible approach” that applies “common sense.” KSR Intern. Co. v. Teleflex

Inc., 127 S.Ct. 1727, 1739-43 (2007). Here, nothing in the law nor common sense provides any


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    All emphasis added, as well as all internal quotations and citations omitted.
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basis for applying a lead-compound analysis, particularly considering that the only issue is whether

swapping known interchangeable ingredients was obvious.

       Without any purported lead-compound analysis, the Supreme Court in KSR provided the

controlling law for this very situation: “[W]hen a patent claims a structure already known in the

prior art that is altered by the mere substitution of one element for another known in the field, the

combination must do more than yield a predictable result” to avoid obviousness. Id. at 1740.

Similarly, “when a patent ‘simply arranges old elements with each performing the same function

it had been known to perform’ and yields no more than one would expect from such an

arrangement, the combination is obvious.” Id. “[A] court must ask whether [any alleged]

improvement is more than the predictable use of prior art elements according to their established

functions” (id.)—a question Janssen does not even pretend can be answered affirmatively.

       Neither UCB nor Unigene allows Janssen to avoid this controlling law. In fact, neither case

holds that a lead-compound analysis is ever required, not even for patents on new chemical

structures, much less here—a case about cell culture media where there is admittedly no patentable

difference from two prior art media (GSK and Life Techs), because the claimed media merely

substitutes a mere handful of known interchangeable ingredients.

       In UCB, the prior art disclosed a chemical compound called “lacosamide” in a “racemic

mixture,” which is a mix of two mirror images of the same compound, like a right hand and a left

hand, called the “R form” and the “L Form.” UCB, 2018 WL 2324751 at *1. The disputed claim

covered “the lacosamide compound with 90% or greater purity” of the R form. Id. at 5. Although

the district court conducted a lead-compound analysis—because the patent covered a chemical

structure—the Federal Circuit specifically held that “no such analysis is required in this case.”

Id. at 11. In fact, the Court held—even in the context of a compound patent—that an “obviousness




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rejection by an examiner, or a challenge in court, may be based on the closest prior art, which

may not have been a lead compound that the inventor had in mind.” Id. The court separately

affirmed the district court’s determination under the lead compound analysis, holding “[e]ven if a

lead compound analysis is required here, we hold that the district court did not clearly err.” Id.

       True, the Federal Circuit had “often used” a lead-compound approach to help analyze

“structural similarities between the claimed compound and prior art.” Unigene Labs., Inc. v.

Apotex, Inc., 655 F.3d 1352, 1361 (Fed. Cir. 2011). But that is because of the unique way chemists

attempt to invent new compounds. Chemists “often” use a discovery process “based on a known

compound, called a ‘lead compound,’ which serves as a starting point” for creating new chemical

structures. Id. There are often hundreds, if not thousands, of possible “lead compounds.” Thus,

picking an unlikely lead compound—for instance, a compound generally deemed useless because

of unfavorable properties, such as low potency or high toxicity—might by itself qualify as an

inventive step, particularly considering that “[e]ven minor deviations in molecular structure can

radically change a particular substance’s properties and propensities” (Glastetter v. Novartis

Pharmaceuticals Corp., 252 F.3d 986, 990 (8th Cir. 2001)), potentially producing “dramatic and

unpredictable biological effects.” Eli Lilly & Co. v. Zenith Goldline Pharm., Inc., 2001 WL

1397304, *14 (S.D. Ind. October 29, 2001); accord GlaxoSmithKline PLC v. Hikma

Pharmaceutical Co., Ltd., 2012 WL 3561970, *15 (D.N.J. Aug. 16, 2012) (“Compounds even with

slight [differences in] molecular structures can behave in very different ways and have very

different properties.”); Takeda Chem. Indus. v. Alphapharm Pty., Ltd., 492 F.3d 1350, 1357 (Fed.

Cir. 2007) (noting that even with “structural similarity” to a specific compound, obviousness still

requires “some reason that would have led a chemist to modify [that particular] compound in a

particular manner.”).




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       There is no basis for that kind of analysis here. Making cell culture media is nothing like

a chemist’s invention of a new chemical structure. For literally decades, scientists have known

the basic ingredients necessary for cell growth, such as minerals, vitamins, sugars, and proteins

(amino acids). Dkt. 227 at 3 (citing Dkt. 227 Ex. 5 (Glacken Op.) at ¶ 70; Ex. 6 (Frohlich) at ¶ 63;

SOF ¶¶ 22-23). In fact, over time, there’s also been a “convergence” of “opinions on the kind of

ingredients” to include in the media, resulting unsurprisingly in many similar media with numerous

common ingredients and overlapping concentrations. Dkt. 227 at 8 (citing Dkt. 227 Ex. 3,

1/30/2018 Hr’g Tr. (Butler) at 88:11-25). As a result, scientists can use any number of similar

media as an appropriate “starting point” for optimization for a project involving a particular cell

line and protein. Unlike inventing a new chemical structure, optimizing a known media is not a

situation where tiny changes often produce “dramatic and unpredictable” effects. Eli Lilly, 2001

WL 1397304 at *14.

       Moreover, no court has ever extended the lead-compound analysis as far as Janssen now

proposes. Until Unigene, courts had strictly limited that often-criticized approach to new chemical

structures.   See, e.g., Douglas L. Rogers, Federal Circuit's Obviousness Test for New

Pharmaceutical Compounds: Gobbledygook?, 14 Chi.-Kent J. Intell. Prop. 49, 105 (2014)

(describing the Federal Circuit’s lead-compound analysis as “gobbledygook” and a “pre-KSR relic

that is inconsistent with KSR” and Graham.).

       Even in Unigene, the case involved the “chemical arts,” according to the Federal Circuit,

because the claimed invention was a new pharmaceutical formulation that was specifically

designed to “mimic” another already “FDA-approved formulation” containing the same drug

compound for treating osteoporosis. Unigene, 655 F.3d at 1362. Specifically, the claimed

invention was a formulation to improve that compound’s “absorption” and “stability” by adding




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“about 20 mM citric acid.” Id. at 1358. The Court thus found the case analogous to a “lead

compound” case because “the patented formulation was made to mimic a previously FDA-

approved formulation” and thus “the functional and pharmaceutical properties of the ‘lead

compound’ can be more relevant than the actual chemical structure (though not always mutually

exclusive).” Id. at 1361-62. In the end, however, the Court’s lead-compound analysis was

irrelevant to its holding, because the Court found that it did make sense for a POSA to use the

“previously FDA-approved formulation” as the starting point for an improved formulation, but

nevertheless found it “nonobvious” to add “20 mM citric acid” because no other prior art disclosed

using the ingredient for the same purpose and function. Id. at 1362-63.

       Based on nothing more than wishful thinking, Janssen nevertheless argues that the “upshot”

of UCB and Unigene is that the lead-compound analysis must be applied to any patented

composition of any kind where the “inventing process” includes the “selection” of a starting

“composition.” Dkt. 316 at 3. In other words, the lead-compound analysis should apply to every

case because every “inventing process” involves the “selection” of some starting point.

       That is nonsense. Janssen’s proposal would upend decades of obviousness cases involving

compositions, none of which—outside of the limited circumstances in Unigene—have ever

applied a lead-compound analysis. Indeed, other cases have specifically rejected any such

expansion. For instance, the Patent Office has held that the lead-compound analysis “appl[ies] to

the chemical modification of chemical compounds and not to compositions” that are merely

mixtures of various chemicals. Ex Parte Rajnish Kohli & Jose Eder Fontana, APPEAL 2014-

005597, 2016 WL 3269664, at *2 n.2 (June 13, 2016). Applying that analysis beyond chemical

structures, according to the Patent Office, would run “counter to the flexible analysis set by the

Supreme Court in KSR,” which “recognizes the obviousness of pursuing known options within




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the technical grasp of the skilled artisan, e.g., known equivalents.” Ex Parte Abdul Gaffar, 2015

WL 7720188, at *3; accord Wm. Wrigley Jr. Co. v. Cadbury Adams USA LLC, 683 F.3d 1356,

1364 (Fed. Cir. 2012) (“strong case of obviousness” where claim “recites a combination of

elements that were all known in the prior art, and all that was required to obtain that combination

was to substitute one well-known cooling agent for another”).

       Moreover, applying the lead-compound analysis here—where the patent claims a media

that nearly matches the prior art media (GSK and/or Life Techs), which discloses every claimed

ingredient either in the same chemical form or as an alternative form with the same active

component—would be contrary to literally decades of settled law on obviousness. Since the

Supreme Court’s decision in Graham in 1966, the central obviousness analysis required, first, the

identification of “the differences between the prior art and the claimed invention” (here, the

minimal differences between the ’083 media and the GSK and/or Life Techs media) and, second,

a determination of whether those “differences…would have been obvious at the time the invention

was made” to a POSA. Ball Aerosol & Specialty Container, Inc. v. Ltd. Brands, Inc., 555 F.3d 984,

991 (Fed. Cir. 2009); accord Graham v. John Deere Co. of Kansas City, 383 U.S. 1, 37 (1966) (the

“patent must fall as not meeting the test of § 103, since the differences between them and the

pertinent prior art would have been obvious to a person reasonably skilled in that art.”); UCB,

2018 WL 2324751 at *11 (noting that obviousness “may be based on the closest prior art”); Tr.

of Columbia Univ. in City of New York v. Illumina, Inc., 620 F. App’x 916, 932 (Fed. Cir. 2015)

(noting that obviousness analysis with respect to secondary considerations “must” be “compared

with “the closest prior art” (citing cases)); Application of Winslow, 365 F.2d 1017, 1020

(C.C.P.A. 1966) (“We see no ‘hindsight reconstruction’ here, but only selection and application

by the examiner of very pertinent art. That is his duty.”); Ryko Mfg. Co. v. Nu-Star, Inc., 950 F.2d




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714, 718 (Fed. Cir. 1991) (“We conclude that the district court correctly determined the scope of

the pertinent prior art and compared it to the claimed invention to ascertain the salient

differences.”); Application of Susi, 440 F.2d 442, 445 (C.C.P.A. 1971) (“The [prior art]’s

disclosure is huge, but it undeniably includes at least some of the compounds recited in [the

patentee’s] generic claims and it is of a class of chemicals to be used for the same purpose as [the

patentee’s] additives.”); In re Corkill, 771 F.2d 1496, 1500 (Fed. Cir. 1985) (“[I]t cannot be

predicted how any candidate will work in a detergent composition, but that it must be tested, this

does not overcome [the prior art’s] teaching that [the class of compounds] will work.”).

       In short, Janssen’s supplemental authority only confirms that summary judgment of non-

infringement based on ensnarement is appropriate here. This Court should follow UCB and thus

consider the “closest prior art”—GSK and Life Techs—and then apply KSR’s holding that “mere

substitution of one element for another known in the field” is obvious as a matter of law. KSR,

550 US at 405.




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Dated: June 11, 2018                Respectfully submitted,

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                                    and Hospira, Inc.

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                                 CERTIFICATE OF SERVICE

         I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

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2018.


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